             Case 1:17-cv-20608-JJO Document 167 Entered on FLSD Docket 06/12/2019 Page 1 of 2



                                                  United States District Court
                          SOUTHERN DISTRICT OF FLORIDA – MIAMI DIVISION
ARWIN NICOLAS ZAPATA CARRERO and all others
similarly situated under 29 U.S.C. 216(b),       PLAINTIFF’S EXHIBIT LIST
                         Plaintiff,                                       CASE NO.: CASE NO.: 17-20608-CIV-JAL
            vs.

SANABI INVESTMENTS LLC d/b/a OSCAR’S
MOVING & STORAGE,
SAADY BIJANI a/k/a SANDY BIJANI,
HANIN PRIETO
              Defendants.
                                         PLAINTIFFS’ ATTORNEY                     DEFENDANT’S ATTORNEY

                     J.H. ZIDELL, ESQ.                                            MARK SCHWEIKERTO, ESQ.
PRESIDING JUDGE
                     J.H. ZIDELL, P.A.                                            ATTORNEY FOR HANIN PRIETO
                     300-71ST STREET                                              SCHWIKERT LAW
HONORABLE            SUITE 605                                                    90 SW 3RD STREET, 700B
JUDGE JOAN A. LENARD MIAMI BEACH, FL 33141                                        MIAMI, FLORIDA 33130
                     305-865-6766                                                 (305) 926-9452
                     FAX: 305-865-7167                                            MARK@SCHWEIKERTLAW.COM
    TRIAL DATE(S)




                        DEF
           DEF.                    DATE
PLF.       NO
                     OBJECTIONS   OFFERE            ADMITTED   ’’
NO                                  D    MARKED                DESCRIPTION OF EXHIBITS

                    A, I, H, R,                                Plaintiff’s Mathematical Calculation of Damages, redacted as to
                    UP                                         liquidated damages, attorneys’ fees/costs (demonstrative aid).
1                                                              (Pages 1-3)
                    H, I, R,                                   Defendant’s responses to Plaintiff’s First Request for Production
2                   UP                                         (Pages 1-20)
                    H, I, R,                                   Defendant’s Response to Plaintiff’s First Set of Interrogatories
3                   UP                                         (Pages 1-6)
                                                               Defendant Prieto’s Supplemental Responses to Plaintiff’s First
                                                               Set of Interrogatories
4                                                              (Pages 1-3)
                    H, I, R,                                   Defendant’s Responses to Plaintiff’s First Request for
                    UP                                         Admissions
5                                                              (Pages 1-5)
                    H, I, R,                                   Defendant’s Responses to Plaintiff’s Supplemental Request for
                    UP                                         Production
6                                                              (Pages 1-25)
                    H, I, R,                                   Bijani’s Supplemental Responses to 1st Request for Production
7                   UP                                         (Pages 1-5)
                    H                                          Defendant Prieto’s Supplemental Responses to Plaintiff’s First
                                                               Request for Production
8                                                              (Pages 1-5)
     Case 1:17-cv-20608-JJO Document 167 Entered on FLSD Docket 06/12/2019 Page 2 of 2

                                    Defendant Prieto’s Responses to Plaintiff’s Supplemental
                                    Interrogatories
9                                   (Pages 1-3)
       A, H, I, R,                  Text Conversations between Bijani and Plaintiff
10     UP                           (Pages 1-129)
       A, H, I, R,                  Defendant’s Documents Responsive to Plaintiffs First Request
       UP                           for Production
11                                  (Pages 1-5)
       A, H, I, R,                  Plaintiff Pay Checks
12     UP                           (Pages 1 - 38 )
       A, H, I, R,                  Defendants Bill of Lading’s
13     UP                           (Pages 1 - 149)
       A, H, I, R,                  Plaintiff Photos
14     UP                           (Pages 1-9)
       A, H, I, R,                  Defendants Electronic Notes regarding daily jobs
15     UP                           (Pages 1 – 29)
       A, H, I, R,
16     UP                           Online Review from Defendant customer regarding Plaintiff
                                    PLAINTIFF RESERVES THE RIGHT TO INTRODUCE ANY
                                    DOCUMENTS PRODUCED DURING DISCOVERY IN THIS
16                                  CASE.
                                    PLAINTIFF RESERVES THE RIGHT TO INTRODUCE ANY
                                    EXHIBITS LISTED ON DEFENDANT’S EXHIBIT LIST,
17                                  WITHOUT WAIVING ANY OBEJCTIONS.
                                    PLAINTIFF RESERVES THE RIGHT TO INTRODUCE ANY
18                                  EXHIBITS IN ANY DEPOSITIONS TAKEN IN THIS CASE.
19                                  ALL REBUTTAL AND IMPEACHMENT EXHIBITS.
